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 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on the date below, I caused the foregoing document to be

 3   electronically filed with the Clerk of the Court using the CM/ECF system which will send

 4   notification of the filing to all counsel of record.

 5

 6   DATED: June 21, 2018                            ORRICK, HERRINGTON & SUTCLIFFE LLP

 7
                                                      By:     /s/ Robert M. McKenna
 8                                                          Robert M. McKenna (WSBA No. 18327)
                                                            rmckenna@orrick.com
 9
                                                            701 Fifth Avenue, Suite 5600
10                                                          Seattle, WA 98104-7097
                                                            Telephone: 206-839-4300
11                                                          Facsimile: 206-839-4301

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28
     KINLEY-ALBERS DECLARATION IN
                                                                          ORRICK, HERRINGTON & SUTCLIFFE LLP
     SUPPORT OF MOTION FOR PRELIMINARY                 -8-                      701 Fifth Avenue, Suite 5600
     INJUNCTION 2:18-cv-00731                                                  Seattle, Washington 98104-7097
                                                                                        +1 206 839 4300
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           EXHIBIT A




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                                                                           Carol Albers <aacarola@adopt-abroad.com>



RE: Hague Self Report
13 messages

Rebecca Slife <rslife@coanet.org>                                                Tue, Mar 20, 2018 at 5:47 PM
To: Carol Albers <aacarola@adopt-abroad.com>
Cc: "Shawn T. Richards" <srichards@kmclaw.com>, "ombudsman@sba.gov" <ombudsman@sba.gov>


 Hello Carol,



 Based on what was provided to the Commission, they were not able to bring all the standards into compliance. They
 are not reviewing any new standards, but s ll have outstanding issues with some of the standards that have been
 under further review since the site visit. As such, please do start planning for the agency’s accredita on to expire.



 To clarify, COA is required to make a decision on your renewal applica on. If/when the agency’s accredita on expires,
 COA we will con nue with the review of your applica on in the Commission process. This process does not stop when
 the agency expires, unless the agency decides to voluntarily withdraw its applica on.



 I also wanted to inform you that I have heard from a family that you have not yet provided case transfer plan
 informa on to them and that they have been asked not to contact other ASPs. Please know that at this me you
 should be providing case transfer informa on to clients and, unless speciﬁcally requested by the named ASP, PAPs
 should be welcome to contact them to make a determina on of whether they will agree to the transfer plan.



 Please let me know if you have any ques ons. When you get the deferral report, I strongly suggest you be in touch
 with me to discuss what you are planning to submit.



 Best regards,

 Becky




 From: Carol Albers [mailto:aacarola@adopt-abroad.com]
 Sent: Monday, March 19, 2018 5:08 PM
 To: Rebecca Slife <rslife@coanet.org>
 Cc: Shawn T. Richards <srichards@kmclaw.com>; ombudsman@sba.gov
 Subject: Re: Hague Self Report – Review Complete VO -36246


 Hi Becky



                                                          10
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I am a bit confused by this. There are new items that they are reviewing? Beyond what was requested in the last
review? So we should plan for loss of license and transfer our clients, correct? So if our license expires we are basically
done, correct? Is there any point in this any longer? I guess I am not understanding the deferral beyond our
accreditation expiring. Please clarify this.



Thank you

Carol



On Mon, Mar 19, 2018 at 10:02 PM, Rebecca Slife <rslife@coanet.org> wrote:

  Hello Carol,



  You received this notification as we completed our review of the change in compensation, which was carefully
  reviewed in the Commission process.



  COA's procedures provide us with 15 days to complete the deferral report. As we are sensitive to the fact your
  agency is expiring, we will surely prioritize this to complete it more quickly so that you can begin to work on the
  items that remain deficient.



  Regardless, it is likely that the agency's accreditation will expire, given the timing of the next Commission meeting,
  and you may need to execute your case transfer plan. Please go ahead and begin notifying stakeholders of your
  pending expiration at this time. I will review your case transfer plan short, and ensure there are no outstanding
  questions on COA's part.



  You're welcome to let me know if you have any questions as you work on this.



  Becky




  From: Carol Albers [aacarola@adopt-abroad.com]
  Sent: Monday, March 19, 2018 12:13 PM
  To: Rebecca Slife; Shawn T. Richards; ombudsman@sba.gov
  Subject: Re: Hague Self Report – Review Complete VO -36246

  Hi Rebecca



  Not sure why i am getting this now. The change in compensation was filed many, many months ago.. We discussed
  this.



  I emailed regarding the last notice I received regarding another deferral. The notice said we would hear in 15 days
  which is after our Hague accreditation expires.


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Does this mean then that we will not get accredited? I need to notify families, other agencies, staff, etc.



Thank you,




On Mon, Mar 19, 2018 at 5:09 PM, Rebecca Slife <rslife@coanet.org> wrote:

     Dear Dr. Albers,

     This is to acknowledge COA’s receipt of your Self Report of Change in Compensation. COA has completed its
     review and has determined that no action is needed at this time. Information regarding this report will be maintained
     in your file for reference in future reviews. Should additional information be required, COA will contact you.

     If you have any questions, please feel free to contact me at 866-262-8088 or rslife@coanet.org.

     Best regards,

     Rebecca Slife
     Intercountry Adoption Accreditation Manager

     Council on Accreditation
     45 Broadway, 29th Floor | New York, NY 10006
     main (212) 797-3000243 | toll free (866) 262-8088
     fax (212) 797-1428

     Rebecca Slife, LMSW | Intercountry Adoption Accreditation Manager
     Council on Accreditation
     45 Broadway, 29th Floor | New York, NY 10006
     main (212) 797-3000 x 243 | toll free (866) 262-8088
     fax (212) 797-1428

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--

Please sign this petition to Save Adoption & pass this link on to your friends and Social Medial accounts. We need
your help to keep adoption open!



https://petitions.whitehouse.gov/petition/save-adoptions-reverse-80-decline-intercountry-adoptions-and-solve-us-
international-adoption-crisis




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     Adopt Abroad, Inc.
     1424 North 2nd Street
     Harrisburg, PA 17102

     Ph: 1-888-526-4442

     www.adopt-abroad.com



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--

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Rebecca Slife <rslife@coanet.org>                                               Wed, Mar 21, 2018 at 3:58 AM
To: Carol <aacarola@adopt-abroad.com>
Cc: "Shawn T. Richards" <srichards@kmclaw.com>, "ombudsman@sba.gov" <ombudsman@sba.gov>, susan weenink
<susan_w@adopt-abroad.com>

 Hello Carol,

 If or when Adopt Abroad's accreditation expires and if COA has not yet made a decision on your application, you are
 welcome to continue to pursue accreditation through COA.
                                                            14
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At the time of expiration at the end of the month, you will be required to execute your case transfer plan. If any PAPs
elect to stay with AA and "wait it out" in the hopes that AA will soon be accredited and if the PAPs understand the
potential impact of remaining with an unaccredited ASP on their adoption process, they are welcome to. We
understand this may vary significantly depending on the case and the country adopting from. If your agreements with
ASPs who are willing to accept your transferred cases are written as such that they allow for PAPs to return to AA, that
is acceptable, and PAPs can make that choice as well. While I cannot disclose which ASPs have worked out this
particular type of agreement, I can share that a number of ASPs have done it successfully. I can also share that ASPs
who have a clear plan, open lines of communication with PAPs, and make it financially advantageous for PAPs to
return, are often more successful in having clients return.

Please let me know if you have any additional questions.
Becky




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                                                                           Carol Albers <aacarola@adopt-abroad.com>



Update regarding your pending application for renewal
susan weenink <susan_w@adopt-abroad.com>                                                      Fri, Mar 30, 2018 at 11:02 PM
To: Carol Albers <aacarola@adopt-abroad.com>

 This HAS to be illegal.

 On Fri, Mar 30, 2018 at 5:01 PM Carol Albers <aacarola@adopt-abroad.com> wrote:
  madness!! and they knew this was coming.. waiting until Friday p.m.



   On Fri, Mar 30, 2018 at 11:00 PM, susan weenink <susan_w@adopt-abroad.com> wrote:
    That is unbelievable. How can this even be????

     On Fri, Mar 30, 2018 at 4:57 PM Carol Albers <aacarola@adopt-abroad.com> wrote:
      not looking good


       ---------- Forwarded message ----------
       From: Carol Albers <aacarola@adopt-abroad.com>
       Date: Fri, Mar 30, 2018 at 10:55 PM
       Subject: Re: Update regarding your pending application for renewal
       To: Jayne Schmidt <Jschmidt@coanet.org>, ombudsman@sba.gov, "Pope, Cynthia D."
       <cynthia.pope@sba.gov>
       Cc: Richard Klarberg <Rklarberg@coanet.org>, maskewpa@state.gov, "Shawn T. Richards"
       <srichards@kmclaw.com>


       Dear Ombudsman and Ms. Pope

       I am forwarding the latest email I have received from the Council on Accreditation. Our license expires
       tomorrow. The COA has dragged this process on for eight months and now it appears that our agency's
       license to work is lost in the process because of their negligence.

        This is stunning and a complete abuse of position. No business can work under such circumstances.

       Obviously there are some difficulties in the transition between the two accrediting entities but there should be
       some protection for agencies and their families who will suffer badly because of this. There should be some
       grandfathering protection until this mess is sorted out.

       Fifteen years of dedicated work in the field will be destroyed because of this situation which is out of our control

       Please advise me on our legal position and any support your may offer us.

       Thank you

       Carol Albers
       President




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---------- Forwarded message ----------
From: Jayne Schmidt <Jschmidt@coanet.org>
Date: Fri, Mar 30, 2018 at 10:08 PM
Subject: Update regarding your pending application for renewal
To: "aacarola@adopt-abroad.com" <aacarola@adopt-abroad.com>
Cc: Richard Klarberg <Rklarberg@coanet.org>



Dear Carol,



I hope this email finds you well. Unfortunately, I’m writing to advise you that there may be a change with
regards to COA’s procedures for reviewing the application you filed for renewal due to a directive COA received
from the Department of State.



It has been COA’s understanding since drafting a transition plan with IAAME, that COA would complete its
review of all applications that were in process at the time COA withdrew as an accrediting entity and
applications submitted by ASP expiring in 2018 who signed an agreement and agreed to have a site visit by
May of 2018. Earlier this week, we wrote to the State Department and IAAME to advise them of the status of
your pending application. We also advised State Department and IAAME of some details of our process for
applicants seeking renewal who expire while that application for renewal is pending and asked the Department
and IAAME to verify certain implications for IAAME relating to its assumption of Monitoring and Oversight of
Accredited Agencies on 4/1/18.



          In the event of Expiration of Accreditation for ASPs with Pending Renewal Applications



        In the event that any of these ASPs are not granted renewal prior to 3/31, it is our understanding that
        because they would not be accredited on 4/1 that IAAME will not assume any Monitoring and Oversight
        Responsibilities over these ASPs and not charge / receive any fees from them, until such time as they
        are granted accreditation again. COA will transfer the file to IAAME after a final decision is made on
        their application.



        COA will incorporate into its review, any open compliance issues into the Commission’s review and
        decision on the ASPs application to ensure the necessary corrective actions are complete. COA will
        not charge the ASP a Monitoring and Oversight Fee because they will not be accredited during this
        lapse. The cost of COA’s review of the outstanding compliance issues will be covered by the renewal
        fee they have already paid.



The Department responded saying the following:



        “With respect to the ASPs mentioned below, if their accreditation expires and they wish to seek
        accreditation again, they must first request and obtain permission to make a new application for
        accreditation from COA, while COA is still designated as an AE. If COA grants the ASP permission to
        reapply, the ASP may apply for accreditation or approval as a new applicant and, per the AE transition
        Plan, the ASP should file its application with IAAME. The Department recently approved IAAME’s


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        policies, procedures and tables of evidence. IAAME may now accept applications for accreditation and
        approval. After March 31, COA may no longer continue to review or make any decision in relation to
        the ASP’s accreditation application. To the extent COA may be working with the ASP’s on corrective
        action, any corrective action would be moot as of the expiration date as the ASP would no longer be
        accredited.”



We have sent 2 additional emails to the Department expressing our concern over their decision to require COA
to operate under new and different procedures for managing pending applications when there is a lapse of
accreditation due to expiration. We have not yet received a response to our latest request for reconsideration
of their decision, but felt it was important to advise you of this situation.



We will keep you apprised of the situation.



If you have questions, please direct them to Richard Klarberg and I.



Best regards,

Jayne




--
Please sign this petition to Save Adoption & pass this link on to your friends and Social Medial accounts. We
need your help to keep adoption open!

https://petitions.whitehouse.gov/petition/save-adoptions-reverse-80-decline-intercountry-adoptions-and-solve-us-
international-adoption-crisis



Dr. Carol Albers, LPC
President


Adopt Abroad, Inc.
1424 North 2nd Street
Harrisburg, PA 17102
Ph: 1-888-526-4442
www.adopt-abroad.com

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    --
    Please sign this petition to Save Adoption & pass this link on to your friends and Social Medial accounts. We
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  --
  Warm regards, Susan Weenink, LMSW Director of Social Work Services Adopt Abroad, Inc 888-526-4442 Sent
  from mobile phone. Please excuse any typos.



--
Please sign this petition to Save Adoption & pass this link on to your friends and Social Medial accounts. We need
your help to keep adoption open!

https://petitions.whitehouse.gov/petition/save-adoptions-reverse-80-decline-intercountry-adoptions-and-solve-us-
international-adoption-crisis



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--
Warm regards, Susan Weenink, LMSW Director of Social Work Services Adopt Abroad, Inc 888-526-4442 Sent from
mobile phone. Please excuse any typos.




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            EXHIBIT B




                              21
                                                    PCR/Commission Review Report

                                                           Adopt Abroad Incorporated
                                                                           Harrisburg, PA

                                                                                    3046

         PCR Report Sent:                  October 10, 2017                              PCR Response Due:                          November 21, 2017

         Commission Report Sent:                                                         Commission Response Due:




22
         Commission Report Sent:                                                         Commission Response Due:

         Commission Report Sent:                                                         Commission Response Due:

     Summary of standards and related Evaluator Team non-compliance reason(s) that must be addressed prior to achieving accreditation:



                 Standard                  Rating               Standard Value                                  Non-Compliance Reason(s)


         LCG 96.32.d                 3                      C                           EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                                        The agency has not clearly disclosed to COA information required
                                                                                        under 96.32 (e). There is substantial confusion concerning some
                                                                                                                                                                Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 22 of 44




                                                                                        individuals' designation as employees or supervised providers.
                                                                                        Specifically some people who are employees are listed as supervised
                                                                                        providers on the Collaborative Relationships Profile and other people




                         45 Broadway, 29th Floor, New York, NY 10006      toll free: 866-262-8088 tel: 212.797.3000 fax: 212.797.1428 www.coanet.org
     Organization ID #: 3046
     Site Visit Date: August 21, 2017
     Page 2 of 8




                  Standard                  Rating       Standard Value                        Non-Compliance Reason(s)


                                                                          who clearly function as employees (i.e. sign home studies done abroad
                                                                          as employees) are not listed in the Employee Profile. The Collaborative
                                                                          Relationships Profile for Foreign Providers is not complete nor
                                                                          accurate. For this reason, it is unclear if the agency:
                                                                          1. has in place, per 96.32 (d), procedures and standards, pursuant to
                                                                          Sections 96.45 and 96.46, for the selection, monitoring, and oversight
                                                                          of supervised providers;
                                                                          2. per 96.44 (a), the agency adheres to the provisions in Section
                                                                          96.14(b) through (e);
                                                                          3. ensures foreign supervised providers meet the requirements of
                                                                          96.46 (a); and




23
                                                                          4. ensures that foreign supervised providers are operating under
                                                                          written agreements that meet the standards of 96.46 (b).

          LCG 96.32.e                   3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The agency has not clearly disclosed to COA information required
                                                                          under 96.32 (e). There is substantial confusion concerning some
                                                                          individuals' designation as employees or supervised providers.
                                                                          Specifically some people who are employees are listed as supervised
                                                                          providers on the Collaborative Relationships Profile and other people
                                                                          who clearly function as employees (i.e. sign home studies done abroad
                                                                          as employees) are not listed in the Employee Profile. The Collaborative
                                                                          Relationships Profile for Foreign Providers is not complete nor
                                                                          accurate. For this reason, it is unclear if the agency:
                                                                          1. has in place, per 96.32 (d), procedures and standards, pursuant to
                                                                                                                                                    Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 23 of 44




                                                                          Sections 96.45 and 96.46, for the selection, monitoring, and oversight
                                                                          of supervised providers;
                                                                          2. per 96.44 (a), the agency adheres to the provisions in Section
                                                                          96.14(b) through (e);

                                                                                                                    2
     Organization ID #: 3046
     Site Visit Date: August 21, 2017
     Page 3 of 8




                  Standard                  Rating       Standard Value                        Non-Compliance Reason(s)


                                                                          3. ensures foreign supervised providers meet the requirements of
                                                                          96.46 (a); and
                                                                          4. ensures that foreign supervised providers are operating under
                                                                          written agreements that meet the standards of 96.46 (b).

          FRM 96.33.a                   3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The budget does not include anticipated revenue; it only shows
                                                                          expenses.

          FRM 96.34.d                   4            F                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          Agency's Executive Director has sometimes been paid nothing for the




24
                                                                          year, and sometimes paid up to 1/3 of the agency budget. It is not clear
                                                                          how the evaluation is made that compensation is not unreasonably
                                                                          high.

          EPR 96.35.b                   3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The agency has had a grievance filed against them by a prospective
                                                                          adoptive parent that was investigated by their state licensing
                                                                          department and found to be unsubstantiated. However, this written
                                                                          complaint was not disclosed in the Executive Verification form.

          PQT 96.38.c                   3            F                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The agency has not clearly documented that all their relevant
                                                                          employees receive the required amount of training.

          IFQ 96.39.d                   3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                                                                                                     Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 24 of 44




                                                                          The waiver of liability is too broad and general to meet the standard.

          CRR 96.41.a                   3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The complaint procedure does not include contact information for the

                                                                                                                    3
     Organization ID #: 3046
     Site Visit Date: August 21, 2017
     Page 4 of 8




                  Standard                  Rating       Standard Value                        Non-Compliance Reason(s)


                                                                          Hague Complaint Registry.

          CRR 96.41.c                   3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The policy does not address issues that are either time sensitive or
                                                                          involve allegations of fraud.

          CRR 96.41.h                   4            F                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The agency is trying to increase the rate of response to surveys.
                                                                          However, they are not engaged in any systematic or documented effort
                                                                          to analyze results and use this analysis for improvement.

          SPD 96.44.a                   3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:




25
                                                                          The agency has not clearly disclosed to COA information required
                                                                          under 96.32 (e). There is substantial confusion concerning some
                                                                          individual's designation as employees or supervised providers.
                                                                          Specifically some people who are employees are listed as supervised
                                                                          providers on the Collaborative Relationships Profile and other people
                                                                          who clearly function as employees (i.e. sign home studies done abroad
                                                                          as employees) are not listed in the Employee Profile. The Collaborative
                                                                          Relationships Profile for Foreign Providers is not complete nor
                                                                          accurate. For this reason, it is unclear if the agency:
                                                                          1. has in place, per 96.32 (d), procedures and standards, pursuant to
                                                                          Sections 96.45 and 96.46, for the selection, monitoring, and oversight
                                                                          of supervised providers;
                                                                          2. per 96.44 (a), the agency adheres to the provisions in Section
                                                                          96.14(b) through (e) and properly discloses who provides services on
                                                                                                                                                    Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 25 of 44




                                                                          the service plan;
                                                                          3. ensures foreign supervised providers meet the requirements of
                                                                          96.46 (a); and
                                                                          4. ensures that foreign supervised providers are operating under

                                                                                                                    4
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                  Standard                  Rating       Standard Value                       Non-Compliance Reason(s)


                                                                          written agreements that meet the standards of 96.46 (b).

          SPD 96.46.a                   4            F                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          Over 50% of the foreign supervised provider files did not have element
                                                                          3 completed in a clear enough manner.
                                                                          Please also see 96.32 (e).

          SPD 96.46.b                   4            F                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          Foreign supervised provider agreements did not adequately address
                                                                          the following elements of the standard 1, 2, 4, 5, 6, 7, and 8.
                                                                          Please also see 96.32 (e).




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          IC 96.50.e                    3            C                    EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The policy does not include any language about consulting the wishes
                                                                          of the child.
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     Summary of requested evidence to demonstrate compliance with the identified standards:
     Note: Submit all evidence in the portal.



              Standard                                                          Requested Evidence


        LCG 96.32             Procedures and standards, pursuant to Sections 96.45 and 96.46, for the selection, monitoring, and oversight of
                              supervised providers. 96.32 (d)

        LCG 96.32             Revised Collaborative Relationships Profile indicating the name, address, and phone number of any entity the adoption
                              service provider uses or intends to use as a supervised provider 96.32 (e)

        LCG 96.32             Revised Employee Profile indicating the name, address, and phone number of each current director, manager, and




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                              employee of the agency or person; and, for any such individual who previously served as a director, manager, or
                              employee of another provider of adoption services, the name, address, and phone number of such other provider 96.32
                              (e)

        LCG 96.32             Narrative describing changes the agency made to the Employee Profile and Collaborative Relationships Profile, and if the
                              agency has foreign employees, attach documentation demonstrating their employment status (for example, payroll
                              documentation, employment offer letters and documentation of acceptance, and job descriptions). 96.32 (e)

        FRM 96.33             Revised budget that includes agency's anticipated revenue 96.33 (a)

        FRM 96.33             Minutes from the governing body meeting at which the revised budget was approved. 96.33 (a)

        FRM 96.34             Comparative data documenting the provider's assessment of the reasonableness of its compensation for director and a
                              description of their responsibilities 96.34 (d)
                                                                                                                                                           Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 27 of 44




        EPR 96.35             Revised Executive Verification, initialed by CEO and governing body chair. 96.35 (b)

        PQT 96.38             Employee Profile indicating which employees provide services that require the application of clinical skills and judgment.
                              96.38 (c)

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              Standard                                                            Requested Evidence


        PQT 96.38             List of training completed for each of these employees, and copies of training certificates or other documentation of
                              training completed. If any of the training titles are not clearly related to adoption, provide a description of the training
                              content and a narrative describing how the training relates to adoption practice. 96.38 (c)

        IFQ 96.39             Revised adoption service contract and other documents with waivers of liability, which are limited limited and specific.
                              96.39 (d)

        IFQ 96.39             Documentation demonstrating that relevant employees are informed of the waivers (e.g., dated memo or minutes from
                              the meeting at which they were informed of the waivers). 96.39 (d)

        CRR 96.41             Revised complaint policy that includes contact information for the Hague Complaint Registry and addresses expedited




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                              review complaints that are time-sensitive or that involve allegations of fraud.96.41 (a, c)

        CRR 96.41             Governing body minutes where the policy was approved. 96.41 (a, c)

        CRR 96.41             Evidence that employees are aware of the policy (e.g., dated memo to staff or minutes from meeting at which the policy
                              was reviewed). 96.41 (a, c)

        CRR 96.41             Evidence that clients have been informed of the revised policy and procedures. 96.41 (a, c)

        CRR 96.41             Description of quality improvement methods and evidence the data has been aggregated and analyzed (e.g., reports on
                              quality improvement data, minutes from meetings at which the data was reviewed). 96.41 (h)

        SPD 96.44             Revised service plan and service planning procedures which address identification of supervised providers 96.44 (a)

        SPD 96.44             Evidence that employees are aware of revisions to service planning procedures (e.g., dated memo to staff or minutes
                                                                                                                                                             Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 28 of 44




                              from meeting at which the procedures were reviewed). 96.44 (a)

        SPD 96.44               Evidence from 5 cases demonstrating providers of the six adoption services are clearly identified. 96.44 (a)


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                Standard                                                         Requested Evidence


           SPD 96.46          Evidence that the provider obtained and evaluated suitability information prior to entering into each of the foreign
                              supervised provider agreements with current foreign supervised providers 96.46 (a)

           SPD 96.46          For current foreign supervised providers, copies of all fully executed foreign supervised provider agreements 96.46 (b)

           SPD 96.46          Current Collaborative Relationships Profile. 96.46 (a, b)

           IC 96.50           Revised procedures that address all elements of the standard 96.50 (e)

           IC 96.50           Evidence that relevant employees are aware of the procedures (e.g., dated memo to staff or minutes from meeting at
                              which the procedures were reviewed) 96.50 (e)




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     Standard Value: M – Mandatory; C – Critical; F – Foundational

     Sections Reviewed for this organization:

     CRR                    Responding to Complaints and Records and Reports
                            Management
     EPR                    Ethical Practices and Responsibilities
     FRM                    Financial and Risk Management
     IC                     Standards for Cases in which a Child is Immigrating to the
                            U.S.
     IFQ                    Information Disclosure, Fee Practices, and Quality Control
                            Policies and Practice
                                                                                                                                                        Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 29 of 44




     LCG                    Licensing and Corporate Governance
     PQT                    Professional Qualifications and Training for Employees
     SPD                    Service Planning and Delivery


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            EXHIBIT C




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                                                       PCR/Commission Review Report

                                                              Adopt Abroad Incorporated
                                                                              Harrisburg, PA

                                                                                       3046

         PCR Report Sent:                     October 10, 2017                              PCR Response Due:                          November 21, 2017

         Commission Report Sent:              January 11, 2018                              Commission Response Due:




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         Commission Report Sent:                                                            Commission Response Due:

         Commission Report Sent:                                                            Commission Response Due:

     Summary of standards and related Evaluator Team non-compliance reason(s) that must be addressed prior to achieving accreditation:



                 Standard                     Rating               Standard Value                                  Non-Compliance Reason(s)


         EPR 96.35.b                    3                      C                           Commission comment:
                                                                                           The revised Executive Verification provided appears to contain a
                                                                                           mistake and seems to indicate the agency is a for-profit corporation.
                                                                                                                                                                      Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 31 of 44




                                                                                           Additionally, based on the information reviewed, it appears as though
                                                                                           the agency has not provided COA with the self-report that would be
                                                                                           required in relation to the complaint that was filed (see also 96.39 e).




                                                                          
                            45 Broadway, 29th Floor, New York, NY 10006       toll free: 866-262-8088 tel: 212.797.3000 fax: 212.797.1428 www.coanet.org
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                  Standard                  Rating       Standard Value                        Non-Compliance Reason(s)


                                                                          EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          The agency has had a grievance filed against them by a prospective
                                                                          adoptive parent that was investigated by their state licensing
                                                                          department and found to be unsubstantiated. However, this written
                                                                          complaint was not disclosed in the Executive Verification form.

          IFQ 96.39.e                   3            C                    Commission Comment: The agency has had a grievance filed against
                                                                          them that was investigated by their state licensing department and
                                                                          found to be unsubstantiated. However, the agency did not submit the
                                                                          required self-report to COA relating to this investigation.
                                                                          EVALUATOR TEAM NON-COMPLIANCE REASONS:




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          SPD 96.46.b                   4            F                    Commission Comment:
                                                                          All FSP Agreements provided were reviewed and it appears as though
                                                                          the agency has used different templates for the agreements over time,
                                                                          each version reflecting different compliance issues. Some of the earlier
                                                                          versions of the agreement did not address elements 2, 4, 5 and 9-12.
                                                                          Additionally, those versions of the agreement state the forieng
                                                                          provider is "not a foreign supervised provider" and does not provide
                                                                          any adoption services, but the description of services found later in the
                                                                          agreement includes provision or facilitation of one or more of the
                                                                          adoption services. A newer version of the agreement was used for
                                                                          some FSP which did address all elements of the standard but in some
                                                                          of those, (e.g., the agreement with Alisco Orphanage) included
                                                                          information on compensation which seems to suggest that fees are
                                                                                                                                                      Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 32 of 44




                                                                          being paid for referrals (e.g., the foreign supervised provider is paid
                                                                          $2,500 "for an infant referral") which is not compliant with the
                                                                          requirements of 96.34.
                                                                          EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                          Foreign supervised provider agreements did not adequately address
                                                                                                                    2
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                  Standard              Rating   Standard Value                         Non-Compliance Reason(s)


                                                                  the following elements of the standard 1, 2, 4, 5, 6, 7, and 8.
                                                                  Please also see 96.32 (e).




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     Summary of requested evidence to demonstrate compliance with the identified standards:
     Note: Submit all evidence in the portal.



              Standard                                                          Requested Evidence


        EPR 96.35             Revised Executive Verification, initialed by CEO and governing body chair. 96.35 (b)

        IFQ 96.39             Revised procedure for cooperating with reviews, inspections, audits and responding to requests for information and
                              records from the accrediting entity or the Secretary and evidence that the agency has submitted the required self-report
                              96.39 (e)

        SPD 96.46             Provide a revised template for foreign supervised provider agreements that addresses all elements of the standard, copies




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                              of any revised agreements with foreign supervised providers and a status report on the agency's efforts to get revised
                              agreements signed (where the original agreement provided did not substantially comply with the standard 96.46 (b)



     Standard Value: M – Mandatory; C – Critical; F – Foundational

     Sections Reviewed for this organization:
                                                                                                                                                          Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 34 of 44




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     CRR                    Responding to Complaints and Records and Reports
                            Management
     EPR                    Ethical Practices and Responsibilities
     FRM                    Financial and Risk Management
     IC                     Standards for Cases in which a Child is Immigrating to the
                            U.S.
     IFQ                    Information Disclosure, Fee Practices, and Quality Control
                            Policies and Practice
     LCG                    Licensing and Corporate Governance
     PQT                    Professional Qualifications and Training for Employees
     SPD                    Service Planning and Delivery




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            EXHIBIT D




                              36
                                                       PCR/Commission Review Report

                                                              Adopt Abroad Incorporated
                                                                              Harrisburg, PA

                                                                                       3046

         PCR Report Sent:                     October 10, 2017                              PCR Response Due:                          November 21, 2017

         Commission Report Sent:              January 11, 2018                              Commission Response Due:




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         Commission Report Sent:              March 21, 2018                                Commission Response Due:                   April 18, 2018

         Commission Report Sent:                                                            Commission Response Due:

     Summary of standards and related Evaluator Team non-compliance reason(s) that must be addressed prior to achieving accreditation:



                 Standard                     Rating               Standard Value                                  Non-Compliance Reason(s)


         SPD 96.46.b                    4                      F                           3/15/18: Commission Comment: THe agency provided an update
                                                                                           indicating that they have sent revised FSP contracts to all applicable
                                                                                           providers and expect to receive them back in 30 days. The agency
                                                                                                                                                                    Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 37 of 44




                                                                                           provided 3 documents labeled "templates" but one of those
                                                                                           documents was a copy of another adoption service provider's FSP
                                                                                           agreement, and was not a template customized for use by this agency.




                                                                          
                            45 Broadway, 29th Floor, New York, NY 10006       toll free: 866-262-8088 tel: 212.797.3000 fax: 212.797.1428 www.coanet.org
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                  Standard              Rating   Standard Value                        Non-Compliance Reason(s)


                                                                  While the agency indicated that the revised FSP agreements were sent,
                                                                  no copies were provided so it was not possible to verify that those
                                                                  agreements meet all requirements of the standard.

                                                                  Commission Comment:
                                                                  All FSP Agreements provided were reviewed and it appears as though
                                                                  the agency has used different templates for the agreements over time,
                                                                  each version reflecting different compliance issues. Some of the earlier
                                                                  versions of the agreement did not address elements 2, 4, 5 and 9-12.
                                                                  Additionally, those versions of the agreement state the forieng
                                                                  provider is "not a foreign supervised provider" and does not provide




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                                                                  any adoption services, but the description of services found later in the
                                                                  agreement includes provision or facilitation of one or more of the
                                                                  adoption services. A newer version of the agreement was used for
                                                                  some FSP which did address all elements of the standard but in some
                                                                  of those, (e.g., the agreement with Alisco Orphanage) included
                                                                  information on compensation which seems to suggest that fees are
                                                                  being paid for referrals (e.g., the foreign supervised provider is paid
                                                                  $2,500 "for an infant referral") which is not compliant with the
                                                                  requirements of 96.34.
                                                                  EVALUATOR TEAM NON-COMPLIANCE REASONS:
                                                                  Foreign supervised provider agreements did not adequately address
                                                                  the following elements of the standard 1, 2, 4, 5, 6, 7, and 8.
                                                                  Please also see 96.32 (e).
                                                                                                                                              Case 2:18-cv-00731-RBL Document 22 Filed 06/21/18 Page 38 of 44




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     Summary of requested evidence to demonstrate compliance with the identified standards:
     Note: Submit all evidence in the portal.



                Standard                                                         Requested Evidence


           SPD 96.46          Provide a revised template for foreign supervised provider agreements - Hague countries that is customized for use by the
                              agency and that addresses all elements of the standard, and copies of all revised agreements with foreign supervised
                              providers (sent for signature or fully executed) and a status report on the agency's efforts to get each revised agreement
                              signed (where the original agreement provided did not substantially comply with the standard) 96.46 (b)




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     Standard Value: M – Mandatory; C – Critical; F – Foundational

     Sections Reviewed for this organization:

     CRR                    Responding to Complaints and Records and Reports
                            Management
     EPR                    Ethical Practices and Responsibilities
     FRM                    Financial and Risk Management
     IC                     Standards for Cases in which a Child is Immigrating to the
                            U.S.
     IFQ                    Information Disclosure, Fee Practices, and Quality Control
                            Policies and Practice
     LCG                    Licensing and Corporate Governance
     PQT                    Professional Qualifications and Training for Employees
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     SPD                    Service Planning and Delivery




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            EXHIBIT E




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